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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


PETERSEN ENERGÍA INVERSORA, S.A.U. and
PETERSEN ENERGÍA, S.A.U.,

                                   Plaintiffs,

                           -against-                               No. 15 Civ. 2739 (LAP)

ARGENTINE REPUBLIC and YPF S.A.,

                                   Defendants.


ETON PARK CAPITAL MANAGEMENT, L.P.,
ETON PARK MASTER FUND, LTD., and
ETON PARK FUND, L.P.,

                                   Plaintiffs,

                           -against-                               No. 16 Civ. 8569 (LAP)

ARGENTINE REPUBLIC and YPF S.A.,

                                   Defendants.



       STIPULATION REGARDING SUMMARY JUDGMENT BRIEFING
                      AND TRIAL SCHEDULE

       WHEREAS, pursuant to the Court’s January 26, 2022 Orders, Petersen Dkt. No.

347, Eton Park Dkt. No. 277, the Parties have conferred regarding summary judgment

briefing and the pre-trial and trial schedule for these cases;

       WHEREAS, Plaintiffs seek a swift resolution of these cases, particularly in light

of their age and the extensions that have already been granted, but in the interests of

compromise and not burdening the Court reluctantly accept the modifications to the

default deadlines in the Court’s Individual Practices set forth below;
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         WHEREAS, Defendants expect to move for summary judgment to promptly

resolve these cases without the need for trial, but have agreed that any schedule should

account for the possibility of trial in a manner that is least burdensome and most efficient

for the Court and the Parties, by setting deadlines for any pre-trial filings that fall after

the Court’s decision on such motions, with any trial to follow promptly thereafter; and

         WHEREAS, the Parties have reached agreement as to the length of their

anticipated summary judgment briefs and as to the case schedule following the Court’s

ruling on the Parties’ motions for summary judgment;

         IT IS HEREBY STIPULATED AND AGREED by and between the Parties that:

         1.     Plaintiffs may submit up to 40 pages of briefing in support of their

motion(s) for summary judgment, which may be divided as they see fit across one brief

on behalf of Petersen Energía Inversora, S.A.U. and Petersen Energía, S.A.U. (together,

“Petersen”) and one brief for Eton Park Capital Management, L.P., Eton Park Master

Fund, Ltd., and Eton Park Fund, L.P. (together, “Eton Park”), or combined into a single

brief on behalf of both Petersen and Eton Park. Defendant Argentine Republic may

submit up to 40 pages of briefing in opposition to Plaintiffs’ motion(s), and Defendant

YPF S.A. may submit up to 35 pages of briefing in opposition to Plaintiffs’ motion(s), or

Defendants may elect instead to submit a joint brief of up to 75 pages. Plaintiffs may

submit up to 75 pages of reply briefing in support of their motion(s) for summary

judgment, which may be divided as they see fit across one brief for Petersen and one

brief for Eton Park, or combined into a single brief on behalf of both Petersen and Eton

Park.
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       2.      Defendant Argentine Republic may submit up to 40 pages of briefing in

support of its motion for summary judgment, and Defendant YPF S.A. may submit up to

35 pages of briefing in support of its motion for summary judgment, or Defendants may

elect instead to submit a joint brief of up to 75 pages. Plaintiffs may submit up to 75

pages of briefing in opposition to Defendants’ motion(s) for summary judgment, which

may be divided as they see fit across one brief for Petersen and one brief for Eton Park,

or combined into a single brief on behalf of both Petersen and Eton Park. Defendants

may each submit up to 20 pages of reply briefing in support of their motions for summary

judgment, or may elect instead to submit a joint brief of up to 40 pages.

       3.      If trial is necessary after the Court’s ruling on the Parties’ motions for

summary judgment, the joint pretrial order required by this Court’s Individual Practice

3.A shall be due 60 days after the Court issues that ruling.

       4.      If trial is necessary after the Court’s ruling on the Parties’ motions for

summary judgment, the filings required by this Court’s Individual Practice 3.B shall be

due 90 days after the Court issues that ruling.

       5.      If trial is necessary after the Court’s ruling on the Parties’ motions for

summary judgment, and subject to the Court’s schedule and other immovable conflicts,

including other trials involving lead counsel in these cases, trial in these cases shall begin

115 days after the Court issues that ruling.

Dated: February 7, 2022

KELLOGG HANSEN TODD FIGEL &                           KING & SPALDING LLP
FREDERICK P.L.L.C.

By:    /s/ Andrew E. Goldsmith                        By: /s/ Reginald R. Smith
       Mark C. Hansen                                        Reginald R. Smith
       Derek T. Ho                                           Israel Dahan
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Master Fund, Ltd., and Eton Park Fund, L.P.     Eton Park Capital Management, L.P., Eton
                                                Park Master Fund, Ltd., and Eton Park Fund,
                                                L.P.




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